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     Inc. Liquidating Trust
 8
     [additional counsel listed on the signature
 9   page]

10                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
11                                 SAN FRANCISCO DIVISION
12   IN RE: CATHODE RAY TUBE (CRT)                        Master File No. 07-5944 SC
     ANTITRUST LITIGATION
13                                                        MDL No. 1917
14
     This Document Relates to:
15                                                        STIPULATION AND [PROPOSED]
                                                          ORDER DISMISSING WITH
16   Siegel v. Hitachi, Ltd., No. 11-cv-05502;            PREJUDICE PLAINTIFF’S
                                                          CLAIMS UNDER STATE LAW
17
     Siegel v. Technicolor SA, No. 13-cv-05261;
18

19                                                        The Honorable Samuel Conti

20
             Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, plaintiff Alfred H.
21

22   Siegel, as Trustee of the Circuit City Stores, Inc. Liquidating Trust (the “Circuit City Trust”), and

23   defendants Hitachi, Ltd., Hitachi Displays, Ltd., Hitachi America, Ltd., Hitachi Asia, Ltd.,
24   Hitachi Electronic Devices (USA), Inc., Shenzhen SEG Hitachi Color Display Devices, Ltd., LG
25
     Electronics, Inc., LG Electronics USA, Inc., LG Electronics Taiwan Taipei Co., Ltd., Panasonic
26
     Corporation, Panasonic Corporation of North America, MT Picture Display Co., Ltd., Beijing
27
     Matsushita Color CRT Co., Ltd., Koninklijke Philips Electronics N.V., Philips Electronics North
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     DISMISSING WITH PREJUDICE PLAINTIFF’S                                                  C-11-05502 SC
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 1   America Corporation, Philips Electronics Industries (Taiwan), Ltd., Philips da Amazonia
 2   Industria Electronica Ltda., Samsung SDI Co., Ltd., Samsung SDI America, Inc., Samsung SDI
 3
     Mexico S.A. de C.V., Samsung SDI Brasil Ltda., Shenzhen Samsung SDI Co., Ltd., Tianjin
 4
     Samsung SDI Co., Ltd., Samsung SDI (Malaysia) Sdn. Bhd., Toshiba Corporation, Toshiba
 5
     America, Inc., Toshiba America Consumer Products, LLC, Toshiba America Electronic
 6

 7   Components, Inc., Toshiba America Information Systems, Inc., Technicolor SA, Technicolor

 8   USA, Inc., Technologies Displays Americas LLC, Mitsubishi Electric Corporation, Mitsubishi

 9   Electric Visual Solutions America, Inc., and Mitsubishi Electric & Electronics USA, Inc., being
10
     all the defendants in this case ( collectively “Defendants”), state as follows:
11
             On October 17, 2013, the Circuit City Trust filed its First Amended Complaint (“FAC”) in
12
     individual case number 11-cv-05502 (MDL Master Dkt. No. 2016). On November 12, 2013, the
13
     Circuit City Trust filed its Complaint in individual case number 13-cv-05261 (the
14

15   “Thomson/Mitsubishi/TDA Complaint”) (Ind. Case Dkt. No. 1).                       The FAC and the

16   Thomson/Mitsubishi/TDA Complaints are the “Complaints.” In the Complaints, the Circuit City
17   Trust asserts claims for relief against Defendants under the Sherman Act, the California
18
     Cartwright Act, California Consumer Protection and Unfair Competition Laws, and the Illinois
19
     Antitrust Act.
20
             The Circuit City Trust now desires to dismiss with prejudice its claims against Defendants
21

22   under the California Cartwright Act, California Consumer Protection and Unfair Competition

23   Laws, and the Illinois Antitrust Act. The Circuit City Trust is not dismissing, and will continue to

24   prosecute, its claims against Defendants under the Sherman Act.
25           NOW, THEREFORE, THE PARTIES STIPULATE AND AGREE that the claims of the
26
     Circuit City Trust asserted against Defendants in these cases under the California Cartwright Act,
27
     California Consumer Protection and Unfair Competition Laws, and the Illinois Antitrust Act are
28

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 1   dismissed with prejudice. This dismissal does not apply to the claims of the Circuit City Trust
 2   asserted against Defendants in these cases under the Sherman Act.
 3

 4
     Dated: October 13, 2014                          SUSMAN GODFREY L.L.P.
 5

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     DISMISSING WITH PREJUDICE PLAINTIFF’S                                        C-11-05502 SC
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     DISMISSING WITH PREJUDICE PLAINTIFF’S                                         C-11-05502 SC
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     DISMISSING WITH PREJUDICE PLAINTIFF’S                                         C-11-05502 SC
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     DISMISSING WITH PREJUDICE PLAINTIFF’S                                         C-11-05502 SC
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     DISMISSING WITH PREJUDICE PLAINTIFF’S                                        C-11-05502 SC
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     DISMISSING WITH PREJUDICE PLAINTIFF’S                                        C-11-05502 SC
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 1           Pursuant to General Order No. 45, § X-B, the filer asserts that concurrence in the filing of
     this document has been obtained from each of the above signatories.
 2

 3

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 8   IT IS SO ORDERED.
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 9                                                                  APPRO




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10          October 22, 2014
                                                                                  el Conti
     Dated: __________________________


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                                                                                              FO
11                                                                  Hon.  Samuel     Conti

                                                        RT
                                                               United States District Judge




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     DISMISSING WITH PREJUDICE PLAINTIFF’S                                                     C-11-05502 SC
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